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Hon. Ona T. Wang
United States Magistrate Judge
Southern District of New York
                 Re:      The New York Times Company v. Microsoft Corporation, et al., 23-cv-
                          11195; Daily News, L P, et al. v. Microsoft Corp., et al., 1:24-cv-3285
Dear Magistrate Judge Wang:

        I write on behalf of Plaintiffs The New York Times Company (“The Times”) and Daily
News, LP et al. (“Daily News”) (collectively, the “News Plaintiffs”). We ask the Court to adopt
the News Plaintiffs’ proposal for a deposition protocol coordinating depositions across the News
Plaintiffs’ cases. See Exhibit 1 (copy of proposal). Plaintiffs in the consolidated Authors Guild
class action (“SDNY Class Plaintiffs”) 1 are submitting a separate proposal to join depositions
across all class cases–which, as discussed herein, includes a materially different consolidated case
that encompasses three putative class actions pending in the Northern District of California. 2
Defendants seek coordination across all New York and California cases, which involve
approximately 50 named plaintiffs, in a proposal that dramatically cabins the deposition time
afforded to the News Plaintiffs. 3

        There are four material differences among the parties’ proposals: (1) the scope of
coordination and cross-production of documents; (2) the hours allotted for each side’s depositions;
(3) per-witness time limits; and (4) limits on 30(b)(6) depositions. See Exhibit 2 (summary chart
of the parties’ proposals). We address each.

             1. The Court should order separate deposition coordination protocols for the
                News Cases and for the Class Cases.
        It is true that Microsoft and OpenAI are now being sued by numerous plaintiffs for their
misuse of copyrighted content, which is a natural consequence of their having copied the work of
a vast number of content creators. But these cases are not the same. Despite significant differences
among these cases – including as to the parties, law firms, scope, claims, timing, jurisdiction, and
more – the News Plaintiffs made a proposal that would limit their own depositions to promote
efficiency while protecting the News Plaintiffs’ right to pursue their own cases. But Defendants
have refused to consider the differences among these cases, instead insisting on full deposition
coordination across all of the News Cases, consolidated SDNY class actions, and consolidated
California class actions. That proposal should be rejected, for at least three reasons.

       First, there cannot be coordination without cross-production of documents. Indeed, this
Court has already ordered Defendants to cross-produce all documents in The Times and Daily
News cases. Yet Defendants have refused to agree to cross-production of documents across the
cases for which they seek coordination. The end result would be an extremely inefficient

1
  The consolidated SDNY class cases include Authors Guild v. OpenAI Inc., Case No. 23-cv-8292 (S.D.N.Y.), and
Alter v. OpenAI Inc., Case No. 23-cv-10211.
2
  See In re OpenAI ChatGPT Litig., Case No. 3:23-cv-03223 (N.D. Cal.).
3
  Including Center for Investigative Reporting v. OpenAI, Inc., Case No. 24-cv-04872 (S.D.N.Y.) (“CIR”), which
Defendants have moved to consolidate with the New York Times and Daily News cases (Dkt. 256), this would
involve coordination among five cases, two of which are themselves consolidated class actions that fold in multiple
named plaintiffs and law firms.
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coordination process. For example, without cross-production, the News Plaintiffs may not even
understand why the either the SDNY or California class plaintiffs seek to depose a particular
witness, and given the protective orders, those class plaintiffs will be unable to tell them. Even
documents produced in both cases will trigger confusion (and eventually disputes) because the
documents will have different Bates numbers. The only way to avoid this confusion (and the
resulting disputes) is to examine the same witness on the same document (with different Bates
numbers), a waste of time that benefits no one. Cross-production solves all of these problems, with
no burden to Defendants, yet Defendants have refused.

        Second, coordinating depositions across all SDNY and NDCA cases would substantially
prejudice the News Plaintiffs. The California cases are significantly narrower than the News Cases,
including because Microsoft is not a Defendant in California. In its own words, “the presence of
Microsoft in the New York Actions significantly changes the complexion of the cases,” given that
the New York cases “seek to investigate the role Microsoft played in developing supercomputer
technology for OAI’s training of its models [and] the relationship between Microsoft and OAI.”
Dkt. 48 at 5. Beyond Microsoft’s absence, OpenAI has conceded that the SDNY cases are
“different and broader in scope” relative to the California class cases and argued that “the claims
are different” because the SDNY cases involve allegations of secondary infringement not present
in the California matters. California Class Actions, Dkt. 139 at 4-5.

        The News Cases are also broader than the SDNY class actions. According to Microsoft,
the News Cases “inherently require[] additional discovery” because they implicate an “additional
technology”—“retrieval augmented generation,” Dkt. 153 at 1-2, which is “not at issue” in the
class actions, Dkt. 148 at 7. 4 OpenAI similarly contends that the News Cases are “very different”
from the SDNY class actions because, while the class cases are “narrowly focused” on Defendants’
use of works for “training” the models, the News Cases also implicate the “outputs” of Defendants’
models and products, which means “the scope of discovery [] will differ substantially.” Dkt. 72 at
16. Having argued that (1) the SDNY class cases are significantly broader than the California
cases, and (2) the News Cases are significantly broader than the SDNY class cases, it makes little
sense for Defendants to insist that the News Plaintiffs coordinate with the California plaintiffs.

        As a result of these differences, Defendants’ proposal would prejudice the News Plaintiffs.
Plaintiffs in all of the cases–including two sets of class plaintiffs–would share just eight hours with
each witness for the Defendants, leaving only four hours to be split among the two News Plaintiffs.
That is not nearly enough time for the News Plaintiffs to explore central issues unique to their
cases. And that juggling act would become even more difficult if the Court grants Defendants’
pending motion to consolidate the CIR’s case with the consolidated News Cases, adding yet
another case to the mix. Dkt. 256. While Defendants may prefer for their witnesses to sit for a

4
  Retrieval Augmented Generation (“RAG”) enables Defendants’ products to integrate content from the “live” web—
including publisher websites—with their large language models, a function that is particularly important to show that
Defendants are using news content in a substitutive way.
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deposition only once and argue that this would promote efficiency, “the Second Circuit has
instructed courts that the benefits of efficiency can never be purchased at the cost of fairness.”
KGK Jewelry v. ESDNetwork, 2014 WL 7333291, at *2 (S.D.N.Y. Dec. 24, 2014). 5

        Third, coordination with the California plaintiffs would raise logistical concerns. The cases
are being litigated by different law firms 6 and are proceeding on different schedules. The
California cases will complete discovery later than the SDNY cases, and they will then proceed to
class certification – unlike the SDNY cases, which are proceeding to summary judgment next.
These differences will create tension in terms of when and why parties seek to depose witnesses.
Moreover, because the cases are presided over by different judges in different courts, coordination
with the California cases may even lead to competing court orders on common disputes.

       The simplest and most practical deposition coordination solution is the one that Defendants
themselves proposed when they moved to consolidate The Times and Daily News cases:
consolidate depositions among the News Cases only. As Defendants stated in that briefing,
“discovery sought from OpenAI by all the newspaper plaintiffs will no doubt be overlapping,”
including for “individual and corporate-representative depositions.” Dkt. 143 at 6. OpenAI also
represented that any deposition coordination for the SDNY and California class actions “would
not apply to the NYT and Daily News cases.” Dkt. 144-3 at 3

              2. Total Hour Allotments
         The second dispute concerns the number of hours allotted for each side’s depositions.

                    Depositions Taken by News Plaintiffs                   Depositions Taken by Defendants
News                ● 280-hour cap 7                                       ● 250-hour cap
Plaintiffs’         ● 200-hour cap for each Defendant Group’s              ● 200-hour cap for News Plaintiffs’
Proposal               witnesses                                              witnesses
                    ● 50-hour cap for third-parties                        ● 110-hour cap for any one individual
                                                                              News Plaintiff
                                                                           ● 50-hour cap for third-parties
Defendants’         ●   220-hour cap                                       ● 250-hour cap for News Cases, with
Proposal            ●   85-hour cap for OpenAI witnesses                      maximum of 200 hours for
                    ●   85-hour cap for Microsoft witnesses                   Plaintiffs’ witnesses and 50 hours
                                                                              for non-party fact witnesses

5
  The News Plaintiffs are not opposed to coordination with the SDNY class actions, provided that the appropriate
guardrails are in place to ensure they have an adequate opportunity to question witnesses. The News Plaintiffs made
an SDNY-only deposition coordination proposal as an alternative, which is attached to this letter as Exhibit 3.
6
  Lead counsel in the California class case is Joseph Saveri Law Firm, which is also litigating an AI copyright class
action against Meta. See Kadrey et al v. Meta Platforms, Inc., 23-cv-03417-VC (N.D. Cal.). In Kadrey, Judge Chhabria
recently told the Saveri firm that it had “failed to adequately and diligently litigate,” after which lawyers from another
firm, Boies Schiller LLP, entered appearances. See https://www.law.com/therecorder/2024/09/24/chastised-by-judge-
authors-lawyers-bring-boies-schiller-into-meta-ai-copyright-suit/.
7
  The parties agree that total hours caps should also apply to third-party depositions and 30(b)(6) depositions.
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        There are two problems with Defendants’ proposal. First, the 85-hour cap for News
Plaintiffs to depose each Defendant is too low. It translates to only 12 full-day depositions per
Defendant, despite the broad sweep of Defendants’ conduct at issue. Even worse, if CIR is added
to the consolidated News Cases, Defendants insist that the total cap should only go up by 10 hours,
for a total of 230 hours, with the per-Defendant cap increasing to just 90 hours.

        The News Plaintiffs reasonably propose a higher number of hours (280), including to
account for the breadth of issues in these cases. See In re Weatherford, 2013 WL 5762923, at *3
(S.D.N.Y. Oct. 24, 2013) (granting leave to conduct “sixteen additional nonexpert depositions,”
reasoning that courts “must grant a request to exceed ten depositions unless the additional
depositions would be unreasonably cumulative or duplicative”). Defendants have already
disclosed 15 witnesses under Rule 26, and they will be producing documents from at least 54
custodians (26 for OpenAI, and 28 for Microsoft). Not every custodian will be deposed, but many
should be. The list of issues to explore during depositions is a long one. 8 Relatedly, Defendants’
proposal to give more time to the class plaintiffs cannot be reconciled with Defendants’ assertions
that the News Cases require “additional discovery.” See supra Section 1.

        Second, Defendants’ proposal allots more time for them to depose News witnesses (200)
than News Plaintiffs have to depose Defendants’ witnesses (170). That framework does not make
sense because discovery in these cases has rightly focused on Defendants’ conduct as alleged in
the Amended Complaint. The News Plaintiffs will prove their prima facie copyright claims
through evidence that Defendants produce about their models and products. While Defendants
might seek to depose News Plaintiffs’ witnesses about some additional issues (e.g., harm
allegations), the topics Defendants will explore pales in comparison to what the News Plaintiffs
must discover through Defendants’ witnesses. Supra n.8. The News Plaintiffs’ proposal for 250
hours, with a 100-hour cap per News plaintiff is more than sufficient.

             3. Per-Witness Time Limits
         Defendants propose that each witness sit for a maximum of 8 hours across all of the cases
they propose to be coordinated, including not only the SDNY class actions and News Cases but
also the California class actions. This cap, which is only one hour more than a standard deposition,
is far too low. In effect, each subgroup of Plaintiffs would each receive only two hours with any
witness. 9 The News Plaintiffs propose a more reasonable 10-hour cap, which should apply to the

8
  It includes, at a minimum: Defendants’ use of publisher content to train the models; the technical process by which
these models were trained, including the various stages of training; the functionality of Defendants’ user-facing
products, including ChatGPT and Microsoft Copilot; Defendants’ reliance on publisher content for RAG and
generative search, problems with the outputs of Defendants’ products, including hallucination, regurgitation, and
memorization; Defendants’ circumvention of paywalls; Defendants’ policies for using copyrighted content; how users
interact with Defendants’ products; the relationship between Microsoft and OpenAI; the commercialization of
OpenAI; Defendants’ licensing agreements; and Defendants’ unjustly earned profits.
9
  The four plaintiffs are: The Times, the Daily News, SDNY Class Plaintiffs, and California Class Plaintiffs. If CIR
is consolidated as well, Defendants’ proposal would equate to five Plaintiffs sharing 1.6 hours per witness.
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News Cases only. 10 Under this proposal, each News Plaintiff receives five hours per witness,
which is tight but more reasonable than Defendants’ proposal. Pierre v. City of N.Y, 2022 WL
2384150, at *1 (S.D.N.Y. July 1, 2022) (extending deposition by four hours, reasoning that in
“multi-party cases, the need for each party to examine the witness may warrant additional time”).

             4. Rule 30(b)(6) Depositions
       The parties have disputes about various limits for 30(b)(6) depositions. Defendants propose
a cap of 21 hours for 30(b)(6) testimony from each party. The News Plaintiffs propose a 30-hour
limit per Defendant Group and per News Plaintiff group, which is necessary to address the
numerous issues in the case relating to Defendants’ conduct.

        Regardless of the exact number of hours, the agreement on some hours cap renders
unnecessary any limits on the number of 30(b)(6) notices. During meet and confers, there have
been numerous discussions on these topics. For example, Defendants have proposed limiting the
News Plaintiffs to serving one 30(b)(6) notice on Microsoft and one notice on OpenAI, thus
treating all OpenAI entity defendants as a single party. The News Plaintiffs agreed to limit the
number of 30(b)(6) notices to avoid serving one on each entity, but sought a second notice for each
Defendant to focus on custodial topics (e.g., the storage of information), and a third notice for
OpenAI’s non-profit entity. Defendants have also insisted on serving a separate notice on each
plaintiff that comprises the Daily News Plaintiffs, notwithstanding that OpenAI has opposed News
Plaintiffs’ seeking a separate 30(b)(6) deposition from OpenAI’s non-profit entity. Adopting the
proposed 30-hour time limit, without limitations on the number of 30(b)(6) depositions, would
solve these issues. The News Plaintiffs’ proposal also includes a 20-hour minimum for conducting
30(b)(6) deposition from any party (i.e., Microsoft, OpenAI Defendants, The New York Times,
and Daily News Plaintiffs), which protects against a party limiting total 30(b)(6) time to just 7 or
14 hours by designating one or two corporate representatives to cover all 30(b)(6) topics.

        Finally, Defendants’ proposed 12-hour limit for witnesses deposed under both 30(b)(1) and
30(b)(6) is premature. The parties have not served 30(b)(6) notices, much less selected corporate
representatives. A 12-hour limit may be sufficient, but it is too early to tell. This issue should be
revisited later, based on specific designations.

October 15, 2024                                                Respectfully submitted,

                                                                /s/ Ian Crosby
                                                                Ian B. Crosby



10
  This 10-hour cap should only apply to witnesses deposed solely in their individual capacity. Timing for 30(b)(6)
witnesses is addressed below in Section 4. In addition, if the News Plaintiffs coordinate with the SDNY Class
Plaintiffs, the News Plaintiffs request a higher per-witness cap of 14 hours, which still only provides each group with
3.5 hours.
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                                                /s/ Steven Lieberman
                                                Steven Lieberman

 cc:   All Counsel of Record (via ECF)
